        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 1 of 53




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
DONALD J. TRUMP, et al.                   )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )                Case No. 19-cv-01136 (APM)
                                          )
MAZARS USA LLP,                           )
                                          )
      Defendant,                          )
                                          )
COMMITTEE ON OVERSIGHT AND                )
REFORM OF THE U.S. HOUSE OF               )
REPRESENTATIVES,                          )
                                          )
      Intervenor-Defendant.               )
_________________________________________ )

                                MEMORANDUM OPINION

I.     INTRODUCTION

       After more than two years and a roundtrip through the federal judiciary, this case returns

to where it began. On April 15, 2019, the Committee on Oversight and Reform of the U.S. House

of Representatives issued a document subpoena to Mazars USA LLP (“Mazars”), a firm that has

long provided accounting services to former President Donald J. Trump and his business interests.

The subpoena called for Mazars to produce financial records and other documents relating to

President Trump personally and various associated businesses and entities dating back to 2011.

The Committee claimed primarily that the subpoenaed material would inform its investigation into

whether Congress should amend or supplement current financial disclosure laws.

       President Trump sued to prevent Mazars from complying with the subpoena, but this court

granted summary judgment in favor of the Committee. After the D.C. Circuit affirmed, the
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 2 of 53




Supreme Court granted certiorari and eventually vacated the Circuit’s opinion. In the process, it

announced a new four-factor test to assess the validity of a congressional subpoena directed at a

sitting President’s personal papers. See Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2035–36

(2020). The Court remanded the case to the D.C. Circuit, which, after receiving full briefing and

holding an oral argument, remanded the matter back to this court to apply the Supreme Court’s

decision.

       Now, once again, the parties have filed cross-motions for summary judgment. But this

time they do so against a meaningfully different factual backdrop. Since the Supreme Court

announced the new Mazars test, President Trump lost the 2020 election. He is no longer the sitting

President of the United States. Furthermore, the Committee reissued its subpoena to Mazars on

February 25, 2021, after its initial subpoena expired at the end of the 116th Congress. Prior to

reissuance, the Committee’s Chairwoman, Carolyn B. Maloney, circulated a 58-page, single-

spaced memorandum explaining the legislative need for the subpoenaed material. The parties

dispute whether and how these changed circumstances should inform the court’s present analysis.

       This court previously allowed the Committee’s demand for President Trump’s financial

records to proceed without qualification. But, applying the greater scrutiny required by Mazars,

the court cannot now go so far. The court holds that the Committee’s asserted legislative purpose

of bolstering financial disclosure laws for Presidents and presidential candidates does not warrant

disclosure of President Trump’s personal and corporate financial records when balanced against

the separation of powers concerns raised by the broad scope of its subpoena. By contrast, the

Committee’s other stated justifications for demanding President Trump’s personal and corporate

financial records—to legislate on the topic of federal lease agreements and conduct oversight of

the General Services Administration’s lease with the Old Trump Post Office LLC, and to legislate



                                                2
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 3 of 53




pursuant to Congress’s authority under the Foreign Emoluments Clause—do not implicate the

same separation of powers concerns. The records corresponding to those justifications therefore

must be disclosed. Accordingly, for the reasons discussed more fully below, the court grants in

part and denies in part both cross-motions.

II.     BACKGROUND

        A.       The 116th Congress and the House Oversight and Reform Committee

        On January 3, 2019, the 116th Congress convened, with the Democratic Party holding the

majority of seats in the U.S. House of Representatives. Soon thereafter, the House adopted the

“Rules of the House of Representatives,” which governed its proceedings during the two-year

term. 1 The Rules established the House’s various standing committees, including the Committee

on Oversight and Reform (“Committee”). 2 As relevant here, the House charged the Committee

with “review[ing] and study[ing] on a continuing basis the operation of Government activities at

all levels, including the Executive Office of the President.” 3 116th House Rules at 10. The House

also permitted the Committee to “at any time conduct investigations of any matter without regard

to [other rules] conferring jurisdiction over the matter to another standing committee.” Id. at 11

(emphasis added). In other words, the House empowered the Oversight Committee to investigate

any subject matter, even in areas expressly assigned to other committees. No other committee

possessed such sweeping investigative authority. To “carry[] out . . . its functions and duties,” the




1
  Final Vote Results for Roll Call 19, Adopting the Rules of the House of Representatives for the One Hundredth
Sixteenth Congress, CLERK OF THE U.S. HOUSE OF REPRESENTATIVES, http://clerk.house.gov/evs/2019/roll019.xml
(last visited August 11, 2021).
2
  RULES OF THE HOUSE OF REPRESENTATIVES, 116TH CONGRESS 6, 8 (2019) [hereinafter 116th House Rules],
https://tinyurl.com/t8p3675v.
3
  The Executive Office of the President consists of a small group of federal agencies that most immediately aid the
President on matters of policy, politics, administration, and management. The President’s closest advisors typically
fall within the Executive Office. See generally HAROLD C. RELYEA, CONG. RSCH. SERV., 98-606, THE EXECUTIVE
OFFICE OF THE PRESIDENT: AN HISTORICAL OVERVIEW (2008), https://tinyurl.com/4ma76fe7.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 4 of 53




Committee possessed the ability to “require, by subpoena or otherwise, . . . the production of

such . . . documents as it consider[ed] necessary.” Id. at 19.

        B.      The Oversight Committee’s Investigation During the 116th Congress

        From the start of the 116th Congress, the Committee—led by then-Chairman Elijah E.

Cummings—aggressively pursued an investigation of President Trump’s finances.                            The

Committee did not adopt a resolution or issue a formal public statement defining the scope of its

investigation or its legislative purpose. Instead, it sent a series of letters to the White House and

elsewhere seeking personal and business records. Even before the new Congress convened,

incoming-Chairman Cummings wrote President Trump’s personal lawyer, Sheri Dillon, and the

Executive Vice President and Chief Compliance Counsel of the Trump Organization, George

Sorial, asking them to produce previously requested “documents regarding the Trump

Organization’s process for identifying payments from foreign governments and foreign-

government controlled entities.” 4 In a separate letter, Chairman Cummings asked the General

Services Administration (“GSA”), the agency that manages federally owned and leased buildings,

to produce records concerning the federal government’s lease with the Trump Organization for the

Old Post Office Building, which houses the Trump International Hotel in Washington, D.C. 5

Chairman Cummings indicated that he sought those records at least partly out of a concern that the

lease might violate the Constitution’s Emoluments Clauses. Cummings’ April 12th GSA Letter at

1. These are but two examples of the types of records requests made by the Committee at or around

the start of the 116th Congress.



4
  Letter from Elijah E. Cummings, Ranking Member, House Comm. on Oversight & Reform, to Sheri A. Dillon,
Couns. to Donald Trump, and George A. Sorial, Exec. Vice President & Chief Compliance Couns., Trump Org. (Dec.
19, 2018), https://tinyurl.com/Dec19CummingsDillonLetter.
5
  Letter from Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform, & Gerald E. Connolly,
Chairman, House Subcomm. on Gov’t Operations, to Emily Murphy, Adm’r, Gen. Servs. Admin. (Apr. 12, 2019)
[hereinafter Cummings’ April 12th GSA Letter], https://tinyurl.com/Apr12CummingsHorneLetter.

                                                      4
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 5 of 53




        The Committee issued the investigative demand that sparked this lawsuit on

January 8, 2019. Chairman Cummings wrote to Pat Cipollone, the White House Counsel, asking

President Trump to produce “documents related to [his] reporting of debts and payments to his

personal attorney, Michael Cohen, to silence women alleging extramarital affairs with [him] before

the [2016] election.” 6 Back in May 2018, the Office of Government Ethics (“OGE”) had

concluded that President Trump should have disclosed a payment made by Cohen as a liability on

his public financial disclosure report. 7 Chairman Cummings noted in the January 8th letter that

the Oversight Committee “has jurisdiction over a wide range of matters, including the Ethics in

Government Act of 1978,” a law that “requires all federal officials, including the President, to

publicly disclose financial liabilities that could impact their decision-making.” Cummings’

January 8th Letter at 1. On February 1, 2019, the White House Counsel responded that President

Trump was prepared to consider making some documents available for review. 8

        Chairman Cummings replied on February 15, 2019. See Cummings’ Feb. 15th Letter. He

stated that, by way of his January 8th letter, “the Committee launched an investigation into the

failure of President Donald Trump to report hundreds of thousands of dollars in payments and

liabilities to his former attorney, Michael Cohen, to silence women alleging extramarital affairs

during the 2016 presidential campaign.” Id. at 1. Chairman Cummings explained that “[t]he

Committee’s interest in obtaining these documents is even more critical in light of new documents


6
  Letter from Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform, to Pat Cipollone, White House
Couns. (Jan. 8, 2019) [hereinafter Cummings’ January 8th Letter], https://tinyurl.com/Jan8CummingsCipolloneLetter.
Then–Ranking Member Cummings made a request for similar records in September 2018, which went unanswered.
See Letter from Elijah E. Cummings, Ranking Member, House Comm. on Oversight & Reform, to Donald F. McGahn
II, White House Couns., and George A. Sorial, Exec. Vice President & Chief Compliance Couns., Trump Org.
(September 12, 2018), https://tinyurl.com/y7pyzj34.
7
  Letter from David J. Apol, Acting Dir., U.S. Off. of Gov’t Ethics, to Rod J. Rosenstein, Deputy Att’y Gen., U.S.
Dep’t of Justice (May 16, 2018), https://tinyurl.com/2wxpzcxa.
8
  Letter from Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform, to Pat Cipollone, White House
Couns. 1 (Feb. 15, 2019) [hereinafter Cummings’ Feb. 15th Letter], https://tinyurl.com
/Feb15CummingsCipolloneLetter.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 6 of 53




obtained by the Committee from the Office of Government Ethics (OGE) that describe false

information provided by the lawyers representing President Trump.” Id. The letter went on to

detail a timeline of recent events starting with statements made by President Trump’s lawyers to

OGE and to the public about a supposed purpose of the Cohen payments unrelated to the election;

followed by President Trump’s disclosure of the Cohen payments on his 2017 Financial Disclosure

form as a liability of less than $250,000; and then revelations by federal prosecutors that the Cohen

payments in fact exceeded the $250,000 reported by the President. Id. at 2–6. Chairman

Cummings cited Congress’s “plenary authority to legislate and conduct oversight regarding

compliance with ethics laws and regulations” as the source of its authority to make the records

demand, as well as its “broad authority to legislate and conduct oversight on issues involving

campaign finance.” Id. at 7.

        C.      The Oversight Committee’s Initial Subpoena to Mazars

        On February 27, 2019, Michael Cohen appeared for a public hearing before the Oversight

Committee. 9 By this time, Cohen had pleaded guilty to multiple federal felonies, including tax

evasion, campaign finance violations, and making false statements to Congress. 10 During his

testimony, Cohen implicated President Trump in wrongdoing. He alleged that financial statements

prepared by President Trump’s accountants falsely represented the President’s assets and

liabilities. See Cohen Testimony at 13, 19. Cohen stated that, in his experience, “Mr. Trump

inflated his total assets when it served his purposes . . . and deflated his assets to reduce his real

estate taxes.” Id. at 19. Cohen supplied the Committee with portions of President Trump’s




9
   Hearing with Michael Cohen, Former Attorney to President Donald Trump: Hearing Before the H. Comm. on
Oversight & Reform, 116th Cong. (2019) [hereinafter Cohen Testimony], https://tinyurl.com/CohenHearing.
10
   See Mark Mazzetti et al., Cohen Pleads Guilty and Details Trump’s Involvement in Moscow Tower Project, N.Y.
TIMES (Nov. 29, 2018), https://tinyurl.com/xm6uesb2.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 7 of 53




Statements of Financial Condition from 2011, 2012, and 2013, some of which were signed by

Mazars. 11

        Following Cohen’s testimony, Chairman Cummings wrote to Mazars on March 20, 2019.

His letter first summarized aspects of Cohen’s testimony accusing President Trump of

manipulating financial statements to suit his purposes; it then identified a half-dozen questions

about assets and liabilities reflected in President Trump’s Statements of Financial Condition that

Cohen had provided to the Committee. See Cummings’ March 20th Letter at 1–3. Chairman

Cummings stated that these financial statements “raise questions about the President’s

representations of his financial affairs on these forms and on other disclosures, particularly relating

to the President’s debts.” Id. at 1. The letter concluded by asking Mazars to produce four

categories of documents with respect to not just President Trump but also several affiliated

organizations and entities, including the Trump Organization Inc., the Donald J. Trump Revocable

Trust, the Trump Foundation, and the Trump Old Post Office LLC. Id. at 4. The records sought

included statements of financial condition, audited financial statements, documents relied upon to

prepare any financial statements, engagement agreements, and communications between Mazars

and President Trump or employees of the Trump Organization. Id. The time period identified for

the requested records was “January 1, 2009, to the present.” Id. The letter to Mazars did not

articulate any legislative purpose for the requested records.

        A week later, on March 27, 2019, Mazars responded that it “[could not] voluntarily turn

over documents sought in the Request.” 12 Mazars cited various federal and state regulations as



11
   See Letter from Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform, to Victor Wahba, Chairman
& Chief Exec. Officer, Mazars USA LLP at 1 (Mar. 20, 2019) [hereinafter Cummings’ March 20th Letter],
https://tinyurl.com/Mar20CummingsLetter; see also Cohen Testimony at 13.
12
   Letter from Jerry D. Bernstein, BlankRome LLP, Outside Couns. to Mazars USA LLP, to Elijah E. Cummings,
Chairman, House Comm. on Oversight & Reform (Mar. 27, 2019) [hereinafter Mazars March 27th Letter],
https://tinyurl.com/Mar27MazarsLetter.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 8 of 53




well as professional codes of conduct that prevented it from doing so. See Mazars March 27th

Letter at 1.

        On April 12, 2019, Chairman Cummings circulated a memorandum to his fellow

committee members, advising them of his intent to issue a document subpoena to Mazars. 13 Under

a section titled “Need for Subpoena,” Chairman Cummings cited Cohen’s testimony that President

Trump had “altered the estimated value of his assets and liabilities on financial statements,” as

well as the records Cohen had produced to support these claims. Cummings’ April 12th Mem. at

1–2. Chairman Cummings also referenced “[r]ecent news reports” raising “additional concerns

regarding the President’s financial statements and representations.” Id. at 1. In the “Conclusion”

section of the memorandum, Chairman Cummings identified four issues that he believed “[t]he

Committee has full authority to investigate”: (1) “whether [President Trump] may have engaged

in illegal conduct before and during his tenure in office,” (2) “whether he has undisclosed conflicts

of interest that may impair his ability to make impartial policy decisions,” (3) “whether he is

complying with the Emoluments Clauses of the Constitution,” and (4) “whether he has accurately

reported his finances to the Office of Government Ethics and other federal entities.” Id. at 4. “The

Committee’s interest in these matters,” the memorandum stated, “informs its review of multiple

laws and legislative proposals under [its] jurisdiction.” Id.

        On April 15, 2019, the Committee issued the subpoena to Mazars. The subpoena sought

the same four categories of records identified in the March 20th letter, but it narrowed the relevant

time period by two years to “calendar years 2011 through 2018.” Compare Appl. for TRO, ECF

No. 9 [hereinafter Pls.’ TRO], Ex. A to Decl. of William S. Consovoy, ECF No. 9-2 [hereinafter



13
   Memorandum from Elijah E. Cummings, Chairman, House Comm. on Oversight & Reform, to Members of the
Comm. on Oversight & Reform (Apr. 12, 2019) [hereinafter Cummings’ April 12th Mem.], https://tinyurl
.com/38re3nr5.

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          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 9 of 53




Cummings Subpoena], at 5, with Cummings’ March 20th Letter at 4. The subpoena instructed

Mazars to comply by April 29, 2019.

        D.       Procedural History and Subsequent Developments During the 117th Congress

                 1.       Initial Proceedings Before This Court and the D.C. Circuit

        On April 22, 2019, President Trump, along with his affiliated organizations and entities

(collectively “Plaintiffs”), 14 filed this lawsuit. See Compl., ECF No. 1 [hereinafter Compl.].

Plaintiffs asked the court to, among other things, declare the Committee’s subpoena to Mazars

“invalid and unenforceable” and to issue a “permanent injunction quashing Chairman Cummings’

subpoena.” Id. at 13. Along with their Complaint, Plaintiffs also moved for a preliminary

injunction. Pls.’ Mot. for Prelim. Inj., ECF No. 11. The Committee 15 agreed to postpone the

deadline to comply with the subpoena until seven days after the court ruled on Plaintiffs’ motion.

Minute Order, Apr. 23, 2019.

        Consistent with the Supreme Court’s instruction that motions to enjoin a congressional

subpoena “be given the most expeditious treatment by district courts,” Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 511 n.17 (1975), the court consolidated its hearing on the

preliminary injunction with the “trial on the merits.” Trump v. Comm. on Oversight & Reform of

the U.S. House of Representatives (Mazars I), 380 F. Supp. 3d 76, 88–90 (D.D.C. 2019); see Fed.

R. Civ. P. 65(a)(2) (permitting the court, “[b]efore or after beginning the hearing on a motion for

a preliminary injunction,” to “advance the trial on the merits and consolidate it with the hearing”).




14
    The complete list of affiliated organizations and entities includes: The Trump Organization, Inc.; Trump
Organization LLC; The Trump Corporation; DJT Holdings LLC; The Donald J. Trump Revocable Trust; and the
Trump Old Post Office LLC.
15
   Plaintiffs originally named as defendants Chairman Cummings; Peter Kenny, the Chief Investigative Counsel of the
Oversight Committee; and Mazars. But after discussions with the Oversight Committee, Plaintiffs consented to the
Committee’s intervention as a defendant and agreed to dismiss Chairman Cummings and Kenny as defendants. See
Consent Mot. of the Oversight Committee to Intervene, ECF No. 12; Joint Stip., ECF No. 15.

                                                        9
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 10 of 53




Because the material facts before the court were not in dispute, the court treated the parties’

briefing as cross-motions for summary judgment. Mazars I, 380 F. Supp. 3d at 90.

       On May 20, 2019, the court issued its opinion. Although it acknowledged that Congress

may not “trench upon Executive . . . prerogatives,” id. at 91, the court held that the four areas of

investigation listed in Cummings’ April 12th memorandum represented “a subject ‘on which

legislation could be had,’” id. at 94 (quoting McGrain v. Daugherty, 273 U.S. 135, 177 (1927)).

Specifically, the Committee had “identified several pieces of actual legislation” that

“demonstrate[d] Congress’s intent to legislate, at the very least, in the areas of ethics and

accountability for Executive Brach officials, including the President.” Id. at 96. After rejecting

Plaintiffs’ arguments that the subpoena had an impermissible law-enforcement purpose, id. at 99,

the court entered summary judgment for the Committee, id. at 105.

       The D.C. Circuit affirmed. Trump v. Mazars USA, LLP, 940 F.3d 710, 748 (D.C. Cir.

2019) (Mazars II). The Circuit concluded that “the Committee was engaged in a legitimate

legislative investigation rather than an impermissible law-enforcement inquiry,” id. at 732 (internal

quotation marks and citation omitted), and held that the subpoenaed material was “reasonably

relevant to remedial legislation addressing . . . potential ‘undisclosed conflicts of interest’ and the

President’s [financial disclosure] reports,” id. at 740.

                  2.   The Supreme Court’s Mazars Decision

       The next stop was the Supreme Court. The Court granted certiorari on November 25, 2019,

and consolidated the proceedings with Trump v. Deutsche Bank AG, No. 19-760 (S. Ct. 2019), a

case from the Second Circuit that involved President Trump’s challenges to subpoenas issued by

two other House committees to financial institutions that provided services to the President and

his businesses.



                                                  10
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 11 of 53




       On July 9, 2020, the Court issued its opinion. See Trump v. Mazars USA, LLP (Mazars III

or Mazars), 140 S. Ct. 2019 (2020). The Court recognized that Congress generally “has power ‘to

secure needed information’ in order to legislate.” Id. at 2031 (quoting McGrain, 273 U.S. at 161).

But because the Committee’s demand for President Trump’s personal information triggered

“weighty” separation of powers concerns, id. at 2035, the Court held that the subpoena’s propriety

could not be governed by “precedents that do not involve the President’s papers,” id. at 2033.

Instead, it instructed courts to “perform a careful analysis that takes adequate account of the

separation of powers principles at stake, including both the significant legislative interests of

Congress and the unique position of the President.” Id. (internal quotation marks omitted). The

Court then announced four non-exhaustive “special considerations” meant to guide that analysis.

Id. at 2035–36. Rather than apply the new test itself, the Court vacated the D.C. Circuit’s judgment

and remanded the case for review consistent with its opinion. Id. at 2036.

               3.      Remand to the D.C. Circuit and the Maloney Memorandum

       So, nearly 16 months after it began, the case returned to the D.C. Circuit. On August 10,

2020, the D.C. Circuit instructed the parties to submit supplemental briefs. As an attachment to

its brief, the Committee included a 58-page, single-spaced memorandum from Chairwoman

Carolyn B. Maloney—Chairman Cummings’ successor—to the other members of the Committee

(the “Maloney Memorandum”). 16 Dated August 26, 2020, the memorandum began by referring

to President Trump’s “complex and opaque financial holdings, consisting of hundreds of

interconnected business entities” and his “refusal to divest those assets” upon assuming the

presidency. Maloney Mem. at 3. That refusal, the memorandum continued, “exposed glaring

weaknesses in current ethics legislation that threaten the accountability and transparency of our


 Memorandum from Carolyn B. Maloney, Chairwoman, House Comm. on Oversight & Reform, to Members of the
16

Comm. on Oversight & Reform (Aug. 26, 2020) [hereinafter Maloney Mem.], https://tinyurl.com/34by2cpe.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 12 of 53




government.” Id. Chairwoman Maloney confirmed that the Committee “attaches immense

importance to addressing th[o]se vulnerabilities.” Id. at 4.

       The memorandum noted that, “[s]ince the beginning of the 116th Congress, Congress has

considered once-in-a-generation ethics reforms, including several provisions specifically

applicable to presidents.” Id. “However, in the absence of a detailed understanding of [President

Trump’s] financial holdings and the conflicts they raise, Congress has been unable to tailor its

legislative approaches to detailed facts and evidence, which would ensure the legislation’s

effectiveness.” Id. Chairwoman Maloney specified that the Committee’s investigation had

followed three tracks, all of which “are aimed at defining, understanding, and mitigating

presidential conflicts of interest and self-dealing and enabling the Committee to develop and pass

necessary and effective reforms in presidential ethics and related agency oversight.” Id. at 5.

       The first track addressed President Trump’s federal financial disclosures to OGE. Id. at 4.

The end goal was “to pass legislation to ensure presidential financial disclosures include

sufficiently detailed information to assess potential conflicts of interest, close loopholes in the

financial disclosure process, and strengthen OGE.” Id. at 4–5; see also id. at 5–14.

       The second track involved the lease agreement with GSA for the Trump International Hotel

in the Old Post Office Building. Id. at 5. That investigation would inform legislation “to ensure

that GSA administers federal contracts with the President in a fair and transparent manner, prevent

future presidents from engaging in and maintaining self-dealing contracts with the U.S.

government, and close loopholes in government contracting.” Id.; see also id. at 14–23.

       The third track dealt with President Trump’s “receipt of funds from foreign governments,

federal officials, or state officials through his business holdings,” which the memorandum

characterized as “the receipt of Emoluments.” Id. at 5. Through its investigation, the Committee



                                                12
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 13 of 53




aimed to pass legislation “to prohibit taxpayer funds from flowing to the President’s businesses,

strengthen disclosure requirements to ensure compliance with the Emoluments Clauses, [and]

enable Congress to identify noncompliance and conflicts of interest involving foreign

governments.” Id.; see also id. at 23–31.

       After identifying Mazars as “a crucial custodian of documents relevant to all three

investigative tracks,” id. at 5, Chairwoman Maloney explained how the Cummings Subpoena to

President Trump’s longtime accounting firm satisfied the four-factor test announced in Mazars III

(the “Mazars test”), id. at 37–55. The memorandum concluded that the Committee intended to

continue its investigations into the next Congress, “regardless of who holds the presidency,

because the Committee’s goal is to prevent problems raised by the circumstances of the current

President from being repeated.” Id. at 55.

       Upon receipt of the parties’ supplemental briefs, the D.C. Circuit directed the parties to

address the question of what weight, if any, should be afforded to the Maloney Memorandum given

that it post-dated the issuance of the Cummings Subpoena. Order, Trump v. Mazars USA, LLP,

No. 19-5142 (D.C. Cir.), Doc. No. 1860266. Plaintiffs answered none, and the Committee argued

for full consideration. See Appellants’ Suppl. Reply Br., Trump v. Mazars USA, LLP, No. 19-5142

(D.C. Cir.), Doc. No. 1862695, at 2, 11–16; Committee’s Suppl. Reply Br., Trump v. Mazars USA,

LLP, No. 19-5142 (D.C. Cir.), Doc. No. 1862693, at 3–4, 28–33. On October 20, 2020, the panel

heard oral argument on that question and others.

       Ultimately, the D.C. Circuit declined to reach the merits. After President Trump lost the

2020 election, the Committee notified the panel that “if [the] case has not been resolved before the

end of [the 116th Congress], [Chairwoman Maloney] will reissue the subpoena to Mazars at the

start of the next Congress.” Letter, Trump v. Mazars USA, LLP, No. 19-5142 (D.C. Cir.),



                                                13
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 14 of 53




Doc. No. 1876578. Relying on that representation, on December 30, 2020, the D.C. Circuit

vacated this court’s judgment and remanded the case “for further proceedings, consistent with the

Supreme Court’s opinion.” Trump v. Mazars USA, LLP (Mazars IV), 832 F. App’x 6, 7 (D.C. Cir.

2020). The panel expressed “no view” on “the merits of the parties’ arguments” or “whether th[e]

case [would] become moot when the subpoena expire[d].” Id.

                 4.     Post-Remand Events

          On January 3, 2021, the 117th Congress began. On January 20, 2021, President Trump left

office.     On February 23, 2021, Chairwoman Maloney circulated another memorandum

“provid[ing] Committee Members with notice” of her intent to reissue the subpoena to Mazars. 17

She stated that the Committee’s need for President Trump’s financial information “remains just as

compelling now as it was when the Committee first issued its subpoena, and the Committee’s

legislative efforts remain just as critical to the American people as they were before President

Trump vacated the White House.” Maloney February 23rd Mem. at 1. She explained that the

records sought from Mazars would “help Congress understand how to most effectively increase

transparency in the finances of presidents and presidential candidates, strengthen anti-corruption

laws and agencies, prevent future presidential conflicts of interest and profiteering, and create a

sensible and efficient statutory regime for emoluments reporting and congressional consent.” Id.

at 3. The Chairwoman’s February 23rd memorandum attached and incorporated the August 2020

Maloney Memorandum. See id. at 4. Two days later, Chairwoman Maloney reissued an identical

subpoena to Mazars.        Intervenor-Def.’s Cross-Mot. for Summ. J, ECF No. 56 [hereinafter




17
  Memorandum from Carolyn B. Maloney, Chairwoman, House Comm. on Oversight & Reform, to Members of the
Comm. on Oversight & Reform (Feb. 23, 2021) [hereinafter Maloney February 23rd Mem.], https://perma.cc/QP9B-
3ATS.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 15 of 53




Committee Cross-Mot.], Stmt. of Material Facts, ECF No. 56-1 [hereinafter Committee SOMF],

¶ 50.

        After a status hearing in this court on March 4, 2021, the parties once again filed cross-

motions for summary judgment. See Pls.’ Mot. for Summ. J., ECF No. 54 [hereinafter Pls.’ Mot.];

Committee Cross-Mot. On June 15, 2021, the court instructed the parties to make efforts to narrow

their dispute and assess the possibility of an accommodation, but those efforts were unsuccessful.

See Joint Status Report, ECF No. 64. On July 1, 2021, the court heard oral argument on the cross-

motions for summary judgment.

III.    THRESHOLD ISSUES

        At the outset, the court addresses two threshold issues: (1) whether the court can consider

the August 2020 Maloney Memorandum and (2) whether the reissued subpoena is invalid because

it was issued for an impermissible, non-legislative purpose.

        A.     Consideration of the Maloney Memorandum

        Plaintiffs contend that the court should exclude from its consideration the Maloney

Memorandum because “the memo is plainly a subsequent attempt to retroactively rationalize the

subpoena.” Pls.’ Mot. at 14 (cleaned up). They assert that the legality of congressional inquiries

must be evaluated as of the time they are made—in this case, when the subpoena was issued or, at

the very latest, when the subpoena’s target objected. Id. at 13 (citing Gojack v. United States, 384

U.S. 702, 715 n.12 (1966); Watkins v. United States, 354 U.S. 178, 214–15 (1957); United States

v. Rumely, 345 U.S. 41, 48 (1953); Shelton v. United States, 327 F.2d 601, 607 (D.C. Cir. 1963)).

In Plaintiffs’ view, because the Maloney Memorandum was issued 16 months after the Cummings

Subpoena, it has “the usual infirmity of post litem motam, self-serving declarations.” Pls.’ Mot.

at 14 (quoting Rumely, 345 U.S. at 48).



                                                15
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 16 of 53




       The court disagrees. Plaintiffs’ position elides the fact that the subpoena now in dispute is

not the Cummings Subpoena issued on April 15, 2019, but rather the one the Committee reissued

to Mazars on February 25, 2021. See Hr’g Tr., ECF No. 69 [hereinafter Hr’g Tr.], at 9. The

Cummings Subpoena expired along with the 116th Congress. As Plaintiffs acknowledge, to avoid

mooting the case, Chairwoman Maloney invoked a House Rule that permits committee chairs to

“ensure continuation of . . . litigation” by reissuing prior subpoenas and acting as “the successor

in interest” to the “prior Congress.” See Pls.’ Mot. at 11 (quoting House of Representatives Rule

II, cl. 8(c)). Pursuant to the Rule, Chairwoman Maloney reissued the Cummings Subpoena,

without modification, on February 25, 2021. Id. at 10; Committee Cross-Mot. at 15.

       Plaintiffs would have the court treat that reissuance as a mere resurrection of the earlier

subpoena, but to accept that position would require the court to ignore a significant act of the

Committee. That it cannot do. Although the reissued subpoena is identical to the Cummings

Subpoena in substance, the House reissuance process required the Committee to serve upon

Mazars an entirely separate, fresh subpoena, and the Committee did so. See Hr’g Tr. at 64

(providing clarification). Compare March 2, 2021 Joint Status Report, ECF No. 51, Ex. 1, ECF

No. 51-1 [hereinafter Maloney Subpoena], with Pls.’ TRO, Ex. A, ECF No. 9-2. Thus, it is the

reissued subpoena that Plaintiffs now challenge, not the expired subpoena issued by Chairman

Cummings.

       With the proper focus then on the reissued Maloney Subpoena, the relevance of the August

2020 Maloney Memorandum is self-evident. When Chairwoman Maloney announced that the

Committee would be reissuing an identical subpoena to Mazars, she did so in a four-page

memorandum dated February 23, 2021. The February 23rd memorandum expressly referenced

and quoted from the Maloney Memorandum, and it summarized the legislative rationale for the



                                                16
         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 17 of 53




subpoenaed records set forth in the earlier memo. The February 23rd memorandum also attached

and incorporated the Maloney Memorandum. The Maloney Memorandum is therefore critical to

understanding the Committee’s reasons for reissuing the subpoena to Mazars, and it would blink

reality to ignore it.

        None of the cases on which Plaintiffs rely compels a contrary result. Both Watkins and

Shelton turned on improper attempts by Congress to retroactively rationalize subpoenas that later

formed the basis for criminal contempt convictions. See Watkins, 354 U.S. at 204 (“Looking

backward from the events that transpired, we are asked to uphold the Committee’s actions . . . .”);

Shelton, 327 F.2d at 607 (noting the defendant “had a right under the [Senate] Subcommittee

charter to have the Subcommittee responsibly consider whether or not he should be subpoenaed

before the subpoena issued” (emphasis added)). Here, because Chairwoman Maloney circulated

the Maloney Memorandum well before the Maloney Subpoena issued, the former cannot be

characterized as a retroactive rationalization of the latter. Thus, neither Watkins nor Shelton

precludes the court’s consideration of the Maloney Memorandum.

        B.      Improper Purpose

        Next, Plaintiffs assert that the court need not even evaluate the Maloney Subpoena under

the four Mazars factors because it is invalid due to its improper purpose. See Pls.’ Mot. at 30.

Plaintiffs have advanced this argument at each stage of review, and no court has accepted it.

See Mazars II, 940 F.3d at 726–32; Mazars I, 380 F. Supp. 3d at 99–101; see also Mazars III, 140

S. Ct. at 2035–36 (opting not to address the issue). This court rejects it once more.

        All congressional subpoenas must serve a “valid legislative purpose.” Mazars III, 140

S. Ct. at 2031 (emphasis added) (quoting Quinn v. United States, 349 U.S. 155, 161 (1955)).

“Congress may not issue a subpoena for the purpose of law enforcement” or “expos[ure] for the



                                                17
         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 18 of 53




sake of exposure.” Id. at 2032 (cleaned up). Plaintiffs argue that the “gravamen” or “primary

purpose” of the Maloney Subpoena is exposing President Trump’s supposed “wrongdoing.” See

Pls.’ Mot. at 31 (quoting Mazars II, 940 F.3d at 774 (Rao, J., dissenting)). For support, Plaintiffs

point to (1) statements made by Chairman Cummings and other Democratic members of the

Oversight Committee in the lead-up to the issuance of Cummings Subpoena; (2) a June 13, 2019

Office of Legal Counsel memorandum opinion indicating that the House’s attempts to obtain

President Trump’s financial information were pretextual; 18 and (3) statements made by various

Democratic Committee members in the lead-up to the issuance of the Maloney Subpoena.

See Pls.’ Mot., Pls.’ Stmt. of Material Facts, ECF No. 54-1 [Pls.’ SOMF], ¶¶ 9–15, 28–30, 38, 47,

49–63.

         None of the cited evidence convinces the court that the Committee issued the subpoena to

Mazars for an improper purpose. For one, the D.C. Circuit in Mazars II already held that some of

the evidence cited by Plaintiffs—namely, the statements made prior to issuance of the Cummings

Subpoena and the OLC memorandum opinion—does not establish an improper purpose. See 940

F.3d at 728 (rejecting the view that an interest in uncovering illegality “spoils the Committee’s

otherwise valid legislative inquiry”). The parties dispute whether—in light of the Supreme Court’s

vacatur of the D.C. Circuit’s judgment—this court is bound by the holdings and reasoning in

Mazars II that the Supreme Court left untouched. 19 The court concludes that it is. In Action

Alliance of Senior Citizens of Greater Philadelphia v. Sullivan, the D.C. Circuit left intact certain

holdings from a prior opinion that the Supreme Court had vacated, because the Court “expressed




18
   On July 30, 2021, the Office of Legal Counsel issued a memorandum opinion revising its view and applying a
“presumption of good faith and regularity” to the House’s actions. See Memorandum Opinion for the Acting General
Counsel Department of the Treasury, 45 Op. O.L.C. __, at 21–26 (July 30, 2021).
19
   See Hr’g Tr. at 18 (Plaintiffs’ counsel: “I think [the Supreme Court] spoke when it vacated the D.C. Circuit’s whole
opinion.”); id. at 86–88 (Committee’s counsel: “[T]he D.C. Circuit opinion continues to have precedential weight.”).

                                                         18
            Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 19 of 53




no opinion on the merit of th[o]se holdings.” 930 F.2d 77, 83 (D.C. Cir. 1991). The Circuit

concluded that its earlier holdings “continue to have precedential weight, and in the absence of

contrary authority, [the panel] do[es] not disturb them.” Id. That result controls here. Because

the Supreme Court declined to opine on the merits of the D.C. Circuit’s analysis of improper

purpose, the Circuit’s holding on that issue—at least with respect to the evidence then in the

record—is binding on this court. 20

           Plaintiffs also highlight additional statements from Democrats on the Committee

suggesting a non-legislative purpose for the Maloney Subpoena. See Pls.’ SOMF ¶¶ 50–61. These

statements were made after Mazars II, so the court undertakes its assessment unbound by—but

mindful of—the D.C. Circuit’s opinion.

           The Supreme Court has said repeatedly that “in determining the legitimacy of a

congressional act,” courts may “not look to the motives alleged to have prompted it.” Eastland,

421 U.S. at 508; see also Watkins, 354 U.S. at 200 (“[A] solution to our problem is not to be found

in testing the motives of committee members for [legislative] purpose.”); Wilkinson v. United

States, 365 U.S. 399, 412 (1961) (“[I]t is not for [the courts] to speculate as to the motivations that

may have prompted the decision of individual [committee] members . . . .”). That instruction is

sounder still “[i]n times of political passion,” when “dishonest or vindictive motives are readily

attributed to legislative conduct and as readily believed.” Tenney v. Brandhove, 341 U.S. 367, 378

(1951) (noting that “[c]ourts are not the place for such controversies”).

           Plaintiffs attempt to draw a distinction between judicial scrutiny of congressional motives,

which they concede is impermissible, and identification of legislative purpose, which courts must

evaluate. See Pls.’ Mot. at 31. Although these concepts are in theory different, the line between



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     In any event, the court finds the D.C. Circuit’s treatment of the evidence persuasive.

                                                            19
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 20 of 53




them is ill defined at best. Plaintiffs argue that Mazars II affirmed the distinction in practice when

it addressed the Cummings Subpoena’s legislative purpose on the record before it. See id. But

the panel merely assumed the distinction before upholding the Committee’s stated purpose

anyway. Mazars II, 940 F.3d at 726.

       Regardless, as the D.C. Circuit noted, “an interest in past illegality can be wholly consistent

with an intent to enact [valid] remedial legislation.” Id. at 728; see also Hutcheson v. United

States, 369 U.S. 599, 617–18 (1962) (concluding that the Senate committee’s investigation into

the defendant’s illegal conduct did not vitiate the legitimate purpose of remedial federal

legislation). Here, the Maloney Memorandum serves as the clearest and most comprehensive

explanation of the Committee’s purpose in reissuing the subpoena to Mazars. It includes a sample

of 18 measures that “may be aided by the Committee’s investigations.” Maloney Mem. at 56.

Those measures address, among other things, “presidential ethics and conflicts of interest,

presidential financial disclosures, and presidential adherence to Constitutional safeguards against

foreign interference and undue influence.” Id. In the presence of such facially valid legislative

purposes, the court declines to invalidate the Maloney Subpoena on improper purpose grounds.

IV.    LEGAL STANDARD

       The D.C. Circuit remanded this case “for further proceedings, consistent with the Supreme

Court’s [Mazars] opinion.” Mazars IV, 832 Fed. App’x at 7. But since the remand order, President

Trump left office. That prompts an obvious constitutional question: How do the Mazars factors—

which sprung from a dispute over a congressional subpoena for the personal records of a sitting

President—apply, if at all, to a subpoena seeking the personal records of a former President? Not

surprisingly, the parties disagree on the answer. The court first discusses the Supreme Court’s

decision in Mazars before turning to the parties’ positions.



                                                 20
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 21 of 53




       A.      Mazars

       In Mazars, the Supreme Court instructed that “in assessing whether a subpoena directed at

the President’s personal information” is consistent with Congress’s powers to legislate and

investigate, courts must perform a “careful analysis” that accounts for both the “significant

legislative interests of Congress” and “the unique position of the President.” Mazars III, 140 S. Ct.

at 2035 (cleaned up). The Court offered four non-exhaustive factors as a guide. See id. at 2036

(recognizing that “one case every two centuries does not afford enough experience for an

exhaustive list”).

       First, “the asserted legislative purpose” must “warrant[] the significant step of involving

the President and his papers.” Id. at 2035. “Congress may not rely on the President’s information

if other sources could reasonably provide . . . the information [Congress] needs in light of its

legislative objective.” Id. at 2035–36. Moreover, “[t]he President’s unique constitutional position

means that Congress may not look to him as a ‘case study’ for general legislation.” Id. at 2036.

Second, the subpoena should be “no broader than reasonably necessary to support Congress’s

legislative objective.” Id. “The specificity of the subpoena’s request ‘serves as an important

safeguard against unnecessary intrusion into the operation of the Office of the President.’” Id.

(quoting Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 387 (2004)). Third, “courts should be

attentive to the nature of the evidence offered by Congress to establish that a subpoena advances

a valid legislative purpose.” Id. “[U]nless Congress adequately identifies its aims and explains

why the President’s information will advance its consideration of possible legislation,” “it is

impossible to conclude that a subpoena is designed to advance a valid legislative purpose.” Id.

Fourth, courts should “assess the burdens imposed on the President by [the] subpoena” because




                                                 21
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 22 of 53




“[the burdens] stem from a rival political branch that has an ongoing relationship with the President

and incentives to use subpoenas for institutional advantage.” Id.

        B.      The Parties’ Positions on Mazars

        Plaintiffs would have the court evaluate the Maloney Subpoena with the same scrutiny

required by the Supreme Court in Mazars; they urge the court to treat the Maloney Subpoena as if

it were directed at the personal papers of a sitting President. Pls.’ Mot. at 12 (“Because the

Committee chose to revive a subpoena to the President and continue justifying it on President-

specific grounds, it must answer President-specific defenses, including [the Mazars test].”).

According to Plaintiffs, “there has only ever been one Mazars subpoena—the one that the

Committee issued against President Trump in 2019,” and so, the Mazars test fully applies

irrespective of changed circumstances. Pls.’ Opp. to Cross-Mot. & Reply, ECF No. 60 [hereinafter

Pls.’ Reply], at 2.

        The court rejects this approach because, once again, Plaintiffs conflate the Cummings

Subpoena and the Maloney Subpoena. The latter was issued on February 25, 2021, and is the

subpoena to which Plaintiffs now object. See Hr’g Tr. at 9. The Cummings Subpoena expired

with the 116th Congress. See supra Part III.A. That the two subpoenas are substantively identical

does not mean “there has only ever been one Mazars subpoena.” The Maloney Subpoena is a new

demand for records, which the Committee separately served on Mazars. Thus, when the Maloney

Subpoena issued—more than a month after President Trump left office—it was directed at, and

sought the personal papers of, a former President.

        Plaintiffs would have the court ignore these events, but to do so would be contrary to

Circuit precedent. Plaintiffs’ suit requests prospective relief. See Compl. ¶ 50 (asking for a

declaratory judgment and a permanent injunction). Because “this form of relief operates only in



                                                 22
         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 23 of 53




futuro, . . . the right to it must be determined as of the time of the hearing.” Duplex Printing Press

Co. v. Deering, 254 U.S. 443, 464 (1921). That principle explains the D.C. Circuit’s consideration

of changed factual circumstances in Senate Select Committee on Presidential Campaign Activities

v. Nixon, another case involving the enforcement of a congressional subpoena. See 498 F.2d 725

(D.C. Cir. 1974) (en banc). There, a Senate committee sought the enforcement of a subpoena

directing President Nixon “to produce ‘original electronic tapes’ of five conversations between the

President and his former Counsel” regarding Watergate. Id. at 726. After the subpoena issued,

the House Committee on the Judiciary, in the course of its impeachment investigation, obtained

copies of the five tapes, and President Nixon publicly released partially deleted transcripts of the

contents. Id. at 732. As a result, the D.C. Circuit asked the Senate committee to file a supplemental

memorandum addressing “whether the Committee ha[d] a present sense of need for the materials

subpoenaed.” Id. (quotation marks omitted). The en banc court eventually dismissed the Senate

committee’s enforcement action, holding that “the Committee’s argument that the subpoenaed

materials are necessary to its legislative judgments ha[d] been undermined by subsequent events.”

Id. Just as the D.C. Circuit gave due weight to post-subpoena developments in Senate Select

Committee, the court does so here.

        Plaintiffs try to distinguish Senate Select Committee on the ground that subsequent events

in that case undercut—rather than contributed to—the need to enforce the subpoena. Pls.’ Reply

at 6 n.2. But the court sees no reason why changed factual circumstances should only be

considered when they benefit the party challenging enforcement.

        Plaintiffs also assert that the court should disregard events subsequent to Mazars because

the legality of congressional subpoenas must be assessed, “at the very latest, upon objection,” and

Plaintiffs objected to production by Mazars, at the latest, by initiating this litigation. Id. at 3; see id.



                                                    23
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 24 of 53




at 4 (“Because a recipient must decide at his peril whether or not to answer a subpoena,

fundamental fairness demands that his objection be judged at that time.” (cleaned up)). But, once

more, this contention assumes that the operative subpoena is the Cummings Subpoena rather than

the Maloney Subpoena. Plaintiffs objected to the latter subpoena, quite naturally, after it issued

on February 25, 2021. The record before the court therefore appropriately encompasses President

Trump’s January 2021 departure from office.

       Moreover, as the Committee points out, the cases Plaintiffs cite all involve criminal

prosecutions rather than civil enforcement. See Watkins, 354 U.S. at 181 (reviewing a conviction

for contempt of Congress); Gojack, 384 U.S. at 704–05 (same); Rumely, 345 U.S. at 42 (same);

Shelton, 327 F.2d at 602 (same). This distinction is crucial. A civil enforcement proceeding, like

this case, concerns future compliance with a congressional subpoena. By contrast, criminal

prosecutions seek to impose punishment for past non-compliance. Due process demands that an

individual “compelled” under pain of criminal prosecution to decide whether to comply with a

congressional subpoena “is entitled to have knowledge of the subject to which the interrogation is

deemed pertinent.” Watkins, 354 U.S. at 208–09. “That knowledge must be available with the

same degree of explicitness and clarity . . . require[d] in the expression of any element of a criminal

offense.” Id. at 209. Thus, criminal punishment for non-compliance cannot be imposed on a

witness based on facts not yet in existence at the time the witness made the decision not to comply.

Such a concern does not exist in civil enforcement proceedings demanding only prospective relief.

The court, therefore, must recognize that President Trump is no longer in office (along with any

other relevant changed circumstances) when evaluating the Maloney Subpoena.

       The Committee meanwhile would have the court ignore the Mazars test altogether.

Committee Cross-Mot. at 21. It insists that the court instead should apply the more generic



                                                  24
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 25 of 53




balancing test from Nixon v. Administrator of General Services (Nixon v. GSA), 433 U.S. 425

(1977).     In that case, President Nixon, after his departure from office, challenged the

constitutionality of the Presidential Recordings and Materials Preservation Act, which directed

GSA to take custody of his presidential papers and tape recordings to ensure that he would not

destroy any records relevant to the Watergate affair. See id. at 429. The Court expressly rejected

the notion that, as a former President, President Nixon could not assert separation of powers as a

defense. Id. at 439. Nevertheless, after balancing “the important interests that the Act [sought] to

attain” with “the extent to which it prevent[ed] the Executive Branch from accomplishing its

constitutionally assigned functions,” the Court upheld the statute against a facial challenge. Id. at

441–46, 484. The Committee insists that this court should apply a similar balancing test “that

weighs the Committee’s need for the subpoenaed materials for its legislative purposes against the

limited intrusion on the Presidency when Congress seeks a former President’s information.”

Committee Cross-Mot. at 21.

          The Committee’s proposed balancing test strikes the court as little more than a watered-

down version of Mazars. Indeed, the two interests that the Committee seeks to have balanced are

two of the four considerations set forth in Mazars itself—“the asserted legislative purpose” and

“the burdens imposed on the President by a subpoena.” Mazars III, 140 S. Ct. at 2035–36. Yet,

the Committee would have the court eschew, or at least not explicitly weigh, the other two

considerations deemed pertinent by the Court: inquiring whether the subpoenaed records are

“reasonably necessary to support Congress’s legislative objective” and asking whether “the nature

of the evidence offered by Congress . . . advances a valid legislative purpose.” See id. The court

cannot abide. As the Supreme Court held in Nixon v. GSA, separation of powers considerations

do not entirely disappear merely because the entanglement is between Congress and a former



                                                 25
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 26 of 53




President. 433 U.S. at 439. That those constitutional concerns are admittedly less substantial

when a former President is involved does not warrant jettisoning the Mazars factors altogether.

       In the court’s view, the correct approach requires an application of a “Mazars lite” test—

that is, an examination of the Mazars factors cognizant of the fact that this case now involves a

subpoena directed at a former President. That change affects the foundations of the Mazars test in

at least two critical ways.

       First, because President Trump no longer “alone composes a branch of government,” this

dispute no longer implicates a present “clash between rival branches of government.” Mazars III,

140 S. Ct. at 2034. The Maloney Subpoena does not “intru[de] into the operation of the Office of

the President,” nor will it burden “the [sitting] President’s time and attention.” Id. at 2036. The

only remaining separation of powers concern identified by Plaintiffs involves Congress using the

threat of a post-presidency subpoena for personal information to influence “how the sitting

President treats Congress while in office.” Pls.’ Reply at 17. Of course, the threat of a post-

presidency subpoena is not nearly as injurious to the separation of powers as an actual subpoena

for the same information during an incumbent President’s tenure. In the former scenario, the

political party issuing the threat may not even control the seats necessary to make good on its threat

in the future. Still, even remote threats to separation of powers must be given appropriate

consideration.

       Second, the Mazars test was crafted against a “tradition of negotiation and compromise”

between co-equal branches of government, 140 S. Ct. at 2031, but, as the Committee notes, a

former President’s incentives to accommodate Congress are greatly diminished compared to those

of an incumbent, see Committee Cross-Mot. at 16. A former President no longer needs Congress’s

help to fund government or advance his policy priorities. Nor does he fear impeachment or



                                                 26
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 27 of 53




electoral consequences for defying a congressional subpoena. Thus, a refusal to comply with a

congressional demand is far less consequential for a former President than an incumbent.

A President’s motivation to compromise with Congress ebbs upon leaving office.

       These foundational differences alter the Mazars framework in important ways that support

reduced judicial scrutiny of a congressional subpoena to a former President. Most significantly,

under the fourth Mazars factor, the “burdens imposed on the President by a subpoena” are greatly

diminished, if not eliminated entirely, when the President to whom the subpoena is issued no

longer occupies the office. Mazars III, 140 S. Ct. at 2036. Perhaps in different circumstances a

subpoena to a former President might impose some burden on a sitting President’s time and

attention, but the Maloney Subpoena seeks only President Trump’s personal records, so it imposes

no burden on the sitting President. Next, under the first Mazars factor—a careful assessment of

“the asserted legislative purpose”—the Supreme Court characterized a subpoena to a sitting

President as a “significant step” that requires a court to determine whether “other sources could

reasonably provide Congress the information it needs in light of its particular legislative

objective.” Id. at 2035–36. When Congress subpoenas a former President, the step remains

“significant” but less so than when a sitting President is involved, because the risk of inter-branch

conflict is mitigated when a President no longer occupies office. So, a court’s inquiry about

alternative sources should be less rigorous. For the same reason, with respect to the second Mazars

factor—which requires a court to “insist on a subpoena no broader than reasonably necessary to

support Congress’s legislative objectives,” id. at 2036—a court need not “insist” on as precise a

fit when the subpoena is not directed to a sitting President. And, finally, as to the third Mazars

factor—which instructs that a court must be “attentive to the nature of the evidence offered” to

establish a valid legislative purpose, id.—the court’s inquiry involving a former President must be



                                                 27
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 28 of 53




no less “attentive,” but a less “detailed and substantial” evidentiary submission to substantiate

Congress’s claimed legislative purpose may suffice given the circumscribed separation of powers

concerns at play.

       With these principles in mind, the court now turns to a “Mazars lite” analysis of the

Maloney Subpoena.

V.     DISCUSSION

       The Committee identifies three legislative tracks that it believes are advanced by the

Maloney Subpoena: (1) presidential conflicts of interest and financial disclosures (the “financial

disclosure track”); (2) oversight of GSA’s management of the Trump Hotel lease (the “GSA

track”); and (3) presidential conformity with the Emoluments Clauses of the Constitution (the

“emoluments track”). The court considers each in turn.

       A.      The Financial Disclosure Track

               1.      Relevant Context

       The Committee’s financial disclosure rationale for obtaining President Trump’s personal

financial information begins with the Ethics in Government Act of 1978. See Maloney Mem. at 6.

The Act “requires many aspiring and current government officials, including presidential

candidates and sitting Presidents, to file financial disclosure reports at various times during their

candidacies and incumbencies.” Mazars II, 940 F.3d at 714–15 (citing 5 U.S.C. app. 4 § 101(a),

(c), (d), (f)). Presidential candidates and new Presidents must file initial reports that “provide

information concerning their income, assets, liabilities, and employers.” Id. at 715 (citing 5 U.S.C.

app. 4 § 102(b)). Upon entering office, “sitting Presidents must file annual reports disclosing that

same information plus details about any covered gifts, real estate and securities transactions, and

blind trusts.” Id. (citing 5 U.S.C. app. 4 § 102(a)). Incumbent Presidents file their reports with



                                                 28
         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 29 of 53




OGE, “an executive agency tasked with interpreting rules and regulations governing the filing of

financial statements.” Id. (cleaned up).

         The Maloney Memorandum explains the need for President Trump’s personal financial

records, and those of his businesses, to support the Committee’s financial disclosure track. The

court summarizes that justification here. On May 15, 2018, President Trump disclosed payments

to Michael Cohen, his longtime personal attorney, of “$100,001-$250,000” in his financial

disclosure form for the 2017 calendar year (“CY 2017 disclosure”). 21 Maloney Mem. at 6 (internal

quotation marks omitted). The disclosure raised multiple issues. In a letter dated May 16, 2018,

the Acting Director of OGE advised the Deputy Attorney General that “based on the information

provided” in President Trump’s CY 2017 disclosure, the President’s calendar year 2016 disclosure

omitted a reportable liability, specifically a payment made by Cohen to a third party. 22 Id.

Furthermore, court documents from a 2018 federal prosecution of Cohen indicated that he “was

actually paid $420,000—not $250,000 or less, as President Trump had personally certified” to

OGE in his CY 2017 disclosure. 23 Id. at 7.

         On February 27, 2019, Cohen testified before the Committee that he made multiple hush

money payments on President Trump’s behalf and at his direction. 24 Id. at 10. Cohen provided

the Committee with copies of multiple reimbursement checks, signed by President Trump and

others, that were issued prior to the President’s CY 2017 disclosure. 25 Id. Cohen also testified

that President Trump routinely inflated or deflated the estimated value of his assets and liabilities


21
   See U.S. Office of Gov’t Ethics, OGE Form 278e for President Donald J. Trump at 45 (May 15, 2018),
https://tinyurl.com/4bahex38.
22
   Letter from David J. Apol, Acting Dir., U.S. Office of Gov’t Ethics, to Rod J. Rosenstein, Deputy Att’y Gen., U.S.
Dep’t of Justice (May 16, 2018), https://tinyurl.com/2wxpzcxa.
23
   Government’s Sentencing Mem. at 11, United States v. Cohen, No. 18-cr-602 (S.D.N.Y.), ECF No. 27 (Dec. 7,
2018), https://tinyurl.com/uey8jupu.
24
   Cohen Testimony at 10.
25
   Documents Produced to the Committee, Hearing with Michael Cohen, Former Attorney to President Donald Trump:
Hearing Before the H. Comm. on Oversight & Reform, 116th Cong. (2019), https://tinyurl.com/2tb9vxwu.

                                                        29
            Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 30 of 53




on financial statements depending on the purpose of those statements. 26 Id. To corroborate his

claims, Cohen gave the Committee President Trump’s “Statements of Financial Condition” from

2011 and 2012, and a one-page “Summary of Net Worth” from 2013. Id. Those financial

statements—“[a]t least two” of which the Committee claims were prepared by Mazars—along

with Cohen’s testimony “raised new questions” for the Committee “about how President Trump

valued his assets and liabilities . . . in his financial disclosures filed with OGE.” Id.

           After “compar[ing] the information from the Mazars financial statements to [President

Trump’s] first federal financial disclosures in 2015, the Committee identified numerous apparent

discrepancies.” Id. at 11. In the Committee’s view, these discrepancies suggested “apparent

weaknesses in the financial disclosure requirements.” Id. But because the financial statements

provided only “an incomplete record of [President Trump’s] financial holdings,” the Committee

“needed significantly more information . . . to tailor legislation to ensure that presidential filers

provide that information.” Id. The Committee considered Mazars to be “a more direct and reliable

source” for what it sought. Id.

           The Maloney Memorandum further notes that “[t]he Committee’s investigative activities,”

including “the hearing with Michael Cohen, all took place against the backdrop of Congress’s

consideration of once-in-a-generation ethics reform legislation.” Id. at 12. Specifically, “the

Committee has been examining whether amendments to the Ethics in Government Act are

appropriate, whether additional legislation is necessary, and, if so, what mechanism or process

would best accomplish the public interest.” Id. The Maloney Memorandum states that the

“Committee’s investigation into President Trump’s interactions with OGE and the accuracy of his

financial disclosures would inform these important considerations.” Id. The memorandum also



26
     Cohen Testimony at 13, 19.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 31 of 53




cites other pending disclosure and divestment legislation, and states that the “information from the

subpoenaed Mazars documents is necessary for the Committee to determine whether its provisions

are over- or under-inclusive.” Id. at 13.

               2.      Analysis

       Although the Committee’s explanation might validate the Maloney Subpoena were it

directed at the personal papers of an ordinary citizen, this case is different. Even under a modified

Mazars test, the Committee’s financial disclosure rationale for the Maloney Subpoena falls short

in two key respects.

       First, the Committee does not adequately explain why other sources of information—

outside President Trump’s personal papers—could not “reasonably provide Congress the

information it needs in light of its particular legislative objective.” Mazars III, 140 S. Ct.

at 2035–36. The Maloney Memorandum offers many examples of hypothetical legislation that the

Committee may consider in the financial disclosure realm. “[T]he Committee may recommend

amending the Ethics in Government Act to require presidents and presidential candidates to reveal

more details about their financial holdings or require submission of supporting materials such as

tax returns, bank statements, or other supporting documents.” Maloney Mem. at 13–14. It may

“update the financial disclosure requirements in order to reflect the true ownership structure of

businesses” held by Presidents. Id. at 14. It “could decide that OGE’s review of financial

disclosures should . . . examin[e] underlying information for accuracy rather than screen[] for

technical correctness.” Id. And it could support “legislation that grants additional investigative

and enforcement authority to OGE, provides OGE with additional resources to undertake

investigations and audits, or insulates OGE from undue influence by the President.”               Id.

Additionally, the Committee could support “requir[ing] the disclosure of any executive branch or



                                                 31
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 32 of 53




federal agency spending at any privately-held company owned by [the] President, either in full or

in part.” Id.

         For every legislative objective above, however, the court is still left wondering about the

necessity (or even unique usefulness) of President Trump’s personal papers. The Committee

primarily refers to “the extent and complexity of his financial holdings,” as the reason President

Trump’s information could aid in the tailoring of disclosure legislation. Id. at 11. But President

Trump is hardly the only high-level public official to have presented potential disclosure concerns

based on ownership of significant businesses and other assets. 27 It remains unclear, for instance,

why the question of whether Presidents’ financial disclosures should “reflect the true ownership

structure” of businesses they own, id. at 14, cannot be just as informed by investigating the finances

of other, non-presidential officials with similar complex interests. 28 Or why an expert in complex

business holdings might not supply the information the Committee seeks.

         The Committee offers a series of independent reasons why President Trump’s personal

papers will uniquely advance its legislative objectives. None are persuasive. The Committee

asserts that the subpoenaed material could convince the Senate that the House’s proposed reforms

are necessary. See Committee Cross-Mot. at 32–33. But that argument proves too much. It can

always be said that additional facts might in theory convince on-the-fence legislators, even when

the practical likelihood is exceedingly low. If that reason were enough, the separation of powers

claims asserted by former Presidents in cases like this one would be entirely toothless. The




27
   See, e.g., Josh Mitchell, Penny Pritzker Understated Income by $80 Million, WALL ST. J. (May 22, 2013),
https://tinyurl.com/w4myjbvh; Carrie Levine, et al., ‘Not In Compliance’: Wilbur Ross, The Trump Official Who
Keeps Watchdogs Up at Night, NPR (Feb. 27, 2019), https://tinyurl.com/yv6vr35h.
28
   At oral argument, the Committee speculated that Plaintiffs would still object if presidential disclosure requirements
were tailored “based on Cabinet officials, et cetera.” Hr’g Tr. at 79–82. But such an objection would likely ring
hollow in the absence of the same separation of powers concerns attending the personal papers of either current or
former Presidents.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 33 of 53




Committee also suggests that reviewing President Trump’s personal financial information would

permit more tailored legislation and thus would “serve[] to protect the Office of the President.”

Maloney Mem. at 41. This reasoning strikes the court as too clever by half. The Committee cannot

justify an imposition on the separation of powers by contending that the imposition would itself

help protect the separation of powers. Finally, the Committee argues that the subpoenaed material

“is necessary . . . to determine whether” its legislative efforts “are over- or under- inclusive.” Id.

at 13. But Congress is not entitled to perfect information before it legislates on a given topic,

especially when the claimed need for tailoring is predicated on the personal records of a former

President. As the Supreme Court noted, “efforts to craft legislation involve predictive policy

judgments that are ‘not hampered . . . in quite the same way’ [as criminal proceedings] when every

scrap of potentially relevant evidence is not available.” Mazars III, 140 S. Ct. at 2036 (quoting

Cheney, 542 U.S. at 384). In sum, the Committee fails to demonstrate why the subpoenaed

material is “reasonably necessary” to support its legislative objectives. Id.

        Second, the Committee’s need for insights into President Trump’s finances is outweighed

by “the burdens imposed . . . by [the] subpoena.” Id. The Committee is not demanding the

subpoenaed material on a clean slate; the preexisting financial disclosure regime the Committee

seeks to build on is already quite extensive. 29 So, too, are Congress’s efforts to bolster that regime.

As explained above, Presidents must file annual reports that cover their income, assets, liabilities,

covered gifts, real estate and securities transactions, and blind trusts. See 5 U.S.C. app. 4 § 102(a),

(b); see Public Financial Disclosure Guide (describing 37 types of reportable employment assets

and income, 40 types of other reportable assets and income, and 24 types of reportable employment



29
  See U.S. Office of Gov’t Ethics, Public Financial Disclosure Guide [hereinafter Public Financial Disclosure Guide],
https://www.oge.gov/Web/278eGuide.nsf (last visited August 11, 2021) (“The Act imposes detailed requirements for
public financial disclosure by senior United States Government officials.” (emphasis added)).

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 34 of 53




agreements and arrangements); Maloney Mem. at 6 (noting that a reportable liability is “defined

broadly and includes a wide variety of debts”). Moreover, the House has already considered and

passed H.R. 1, “a sweeping bill that includes a number of reforms that will strengthen

accountability for executive branch officials—including the President.” Maloney Mem. at 12

(internal quotation marks omitted). The Maloney Memorandum reinforces the comprehensive

nature of the proposed reforms:

               The relevant provisions in H.R. 1 would amend the Ethics in
               Government Act to require additional financial disclosures to be
               filed with OGE, require the President and Vice President to divest
               from financial holdings that may pose a conflict of interest or else
               disclose significant financial information on their business interests,
               including ownership structure and assets and liabilities exceeding
               $10,000, and require candidates for President and Vice President to
               disclose ten years of federal tax returns with the Federal Election
               Commission.

Id. at 12–13 (footnotes omitted) (citing H.R. 1, §§ 8012, 8013, 8022, 10001). Viewed in the

context of what Congress and the House in particular have already done in crafting enhanced

financial disclosure legislation, the legislative objectives the Committee identifies are relatively

incremental and therefore present only a limited need for President Trump’s financial records. See

id. at 13–14 (discussing hypothetical legislation).

       Such limited legislative need cannot justify the degree to which the Maloney Subpoena

imposes on the separation of powers, even in the case of a former President. Recall that the

remaining separation of powers concern at issue involves the threat of a post-presidency

congressional subpoena for personal information in order to influence “how the sitting President

treats Congress while in office.” Pls.’ Reply at 17. The risk of “unnecessary intrusion into the

operation of the Office of the President,” Mazars III, 140 S. Ct. at 2036 (internal quotation marks

omitted), increases with a subpoena’s breadth and intrusiveness. The more Congress can invade


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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 35 of 53




the personal sphere of a former President, the greater the leverage Congress would have on a sitting

President. See id. at 2034–35 (“In fact, a subpoena for personal papers may pose a heightened risk

of such impermissible purposes, precisely because of the documents’ personal nature and their less

evident connection to a legislative task.”). And the greater the leverage, the greater the improper

“institutional advantage,” id. at 2036, Congress would possess over a co-equal branch of

government.

       Here, the scope of the Maloney Subpoena is undeniably broad. It covers President Trump,

his revocable trust, five of his corporations, his foundation, and “any parent, subsidiary, affiliate,

joint venture, predecessor, or successor of the foregoing.” Maloney Subpoena at 2. As to those

parties, the subpoena demands (1) “[a]ll statements of financial condition, annual statements,

periodic financial reports, and independent auditors’ reports prepared, compiled, reviewed, or

audited” by Mazars; (2) “all [related] engagement agreements or contracts”; (3) all related “source

documents”; and (4) “[a]ll [related] memoranda, notes, and communications.” Id. The covered

time period defaults to “calendar years 2011 through 2018”—from years before President Trump

took office through only the first two years of his term. Id. Due to its broad, invasive nature, the

subpoena poses an appreciable risk to the separation of powers. The Supreme Court recognized

as much. Mazars III, 140 S. Ct. at 2035 (observing that the “personal” nature of the papers sought

“appears to be what makes the matter of such great consequence to the President and Congress”).

In the current polarized political climate, it is not difficult to imagine the incentives a Congress

would have to threaten or influence a sitting President with a similarly robust subpoena, issued

after he leaves office, in order to “aggrandize itself at the President’s expense,” Id. at 2034. In the

court’s view, this not-insignificant risk to the institution of the presidency outweighs the

Committee’s incremental legislative need for the material subpoenaed from Mazars.



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          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 36 of 53




         After balancing the attendant legislative objectives and needs with the risk to the separation

of powers posed by the Maloney Subpoena, the court concludes that the financial disclosure track

cannot justify the Maloney Subpoena, even under a modified Mazars test. 30

         B.       The GSA Track

         Separately, the Committee argues that the Maloney Subpoena would advance its parallel

investigation into President Trump’s lease agreement with GSA for the Old Post Office Building

and related legislation. Maloney Mem. at 5. Here, the court agrees, but with certain qualifications.

                  1.        Relevant Context

         In March 2011, “GSA began soliciting proposals for the redevelopment of the Old Post

Office Building.” 31        Maloney Mem. at 15.             The solicitation required, among other things,

“[a]udited or certified financial statements” from “the developer and each participating principal,

partner or co-venturer.” 32 Id.

         On June 5, 2013, GSA announced that it had completed negotiations with the Trump

Organization on a 60-year lease to redevelop and manage the Old Post Office building as a luxury

hotel. 33 On August 5, 2013, GSA entered a lease agreement with the newly created Trump Old




30
   The Committee also contends that the Office of Legal Counsel’s July 30, 2021 memorandum opinion “supports the
enforceability of the subpoena in this case.” Notice of Recent Office of Legal Counsel Op., ECF No. 71 [hereinafter
OLC Opinion Notice], at 1. There, OLC concluded that the Secretary of the Treasury must comply with a
congressional request for tax and financial information related to President Trump and his businesses. See OLC
Opinion Notice, Ex. 1, ECF No. 71-1, at 39. But OLC’s opinion arises out of a materially different factual context.
The relevant congressional request was made pursuant to an actual statute. Id. at 24 (“Executive Branch officials
should pay particular heed to this judgment.”). That is not the state of play here. More importantly, the principal
legislative need offered for President Trump’s tax returns—“evaluating the extent to which the IRS audits and enforces
Federal tax laws against a President,” id. at 3 (internal quotation marks omitted)—is not at issue in the present dispute.
31
   Gen. Servs. Admin., ‘Request for Proposals’: Redevelopment of The Old Post Office Building, 1100 Pennsylvania
Avenue, NW, Washington DC (Mar. 24, 2011), https://tinyurl.com/tp3a9yf7 (updated Sept. 12, 2013).
32
   Id.
33
   Press Release, Gen. Servs. Admin., GSA and Trump Organization Reach Deal on Old Post Office Lease (June 5,
2013), https://www.gsa.gov/about-us/newsroom/news-releases/gsa-and-trump-organization-reach-deal-on-old-post-
office-lease.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 37 of 53




Post Office LLC. 34 Id. at 16. Section 37.19 of the lease prohibited any “elected official of the

Government of the United States” from being “admitted to any share or part of th[e] Lease, or to

any benefit that may arise therefrom.” 35 Id. (emphasis omitted) (internal quotation marks omitted).

Immediately after the 2016 election, then–Ranking Member Cummings began an investigation

into how GSA would resolve “the imminent breach-of-lease and conflict-of-interest issues created

by” President Trump’s election. Id. at 17. At the time, GSA took the position that it would be

premature to address those issues until President Trump took office and his “business arrangements

[had] been finalized.” 36 Id. (internal quotation marks omitted). On March 23, 2017, two months

after President Trump was sworn in, GSA concluded that he was “in full compliance with Section

37.19” and that “the Lease [was] valid and in full force and effect.” 37 Id. at 18 (internal quotation

marks omitted).

        Nearly two years later, on January 16, 2019, GSA’s Office of Inspector General issued a

report finding that President Trump’s continued interest in the lease “raised issues under the

Constitution’s Emoluments Clauses” that GSA officials had “improperly ignored.” 38 Id. at 18–19.

The report also determined that “GSA’s unwillingness to address the constitutional issues affected

its analysis of Section 37.19” of the lease. 39 The report concluded that “GSA’s decision-making

process related to . . . [the] possible breach of the lease included serious shortcomings.” 40




34
   Gen. Servs. Admin., Ground Lease by and Between the United States of America (as “Landlord”) and Trump Old
Post Office LLC (as “Tenant”) (GS-LS-11-1307) (Aug. 5, 2013), available for download at
https://tinyurl.com/3jzkn7t6.
35
   Id.
36
    Press Release, Gen. Servs. Admin., GSA Releases Statement on Old Post Office Lease (Dec. 14, 2016),
https://tinyurl.com/dyd835x3.
37
   Letter from Kevin M. Terry, Contracting Officer, Gen. Servs. Admin., to Donald J. Trump, Jr., Old Post Office
LLC, at 1 (Mar. 23, 2017), available for download at https://tinyurl.com/3jzkn7t6 (last visited August 11, 2021).
38
   Gen. Servs. Admin., Office of Inspector Gen., Evaluation of GSA's Management and Administration of the Old Post
Office Building Lease at 23 (Jan. 16, 2019) [hereinafter GSA Inspector General Report], https://tinyurl.com/c5uc46ny.
39
   Id.
40
   Id.

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         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 38 of 53




        Adding fuel to the fire, during his hearing in late February 2019, Michael Cohen testified

that President Trump routinely altered the estimated value of his assets and liabilities on financial

statements. 41   Maloney Mem. at 19.          So, the Committee “expanded its investigation” and

“requested documents from both Mazars and GSA in order to understand whether the President’s

initial bid and later financial guarantees for the Old Post Office hotel [also] contained

inaccuracies.” Id. at 20. “On April 12, 2019, Chairman Cummings and Subcommittee Chairman

Gerald E. Connolly sent a letter to GSA requesting 14 categories of documents relating to the

Committee’s investigation of the” Old Post Office Building lease. 42 Id. On August 22, 2019, GSA

sent a letter to Cummings and Connolly explaining the agency’s production of over 15,000 pages

of responsive documents and its withholding of certain categories of requested documents. 43 GSA

stated, however, that it could not produce any responsive documents that fell under the lease’s

definition of “Confidential Information” “without [the Trump Organization’s] consent,” and that

the Trump Organization had objected. 44 As for its refusal to produce documents submitted by

President Trump in response to the agency’s request for proposals for the redevelopment of the

Old Post Office Building, GSA stated that the “information may be more readily available from

third parties, including [Trump Old Post Office LLC], wh[ich] had specifically objected to its

disclosure.” 45 Id. at 22. On April 29, 2020, Chairwoman Maloney “sent a letter to GSA




41
   Cohen Testimony at 13, 19.
42
   Cummings’ April 12th GSA Letter.
43
   See Letter from Jeffrey A. Post, Assoc. Adm’r, Gen. Servs. Admin., to Chairman Elijah E. Cummings, Comm. on
Oversight & Reform, Chairman Gerald E. Connolly, Subcomm. on Gov’t Operations (Aug. 22, 2019),
https://tinyurl.com/tzz9xwsc.
44
   Id. at 2.
45
   Id.

                                                     38
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 39 of 53




demanding full compliance with the outstanding document requests contained in the Committee’s

April 12, 2019 letter.” 46 Id.

          More than a year later, on July 14, 2021, after remand to this court, GSA produced 1,600

pages of records, some of which the Committee considers also responsive to the Maloney

Subpoena. See Notice, ECF No. 67 [hereinafter July 14th Notice], at 1; Reply to Pls.’ Resp. to

Intervenor-Def.’s Notice, ECF No. 70 [hereinafter Reply to Notice], at 2. Those records “include

six financial statements, each less than 20 pages in length.” Reply to Notice at 2. Notwithstanding

this recent production by GSA, the Committee insists that it still needs documents from Mazars

“to determine the accuracy and completeness of the information submitted to GSA, to assess the

need for legislative reforms to safeguard the GSA bid process and the administration of its leases,

and to address the constitutional deficiencies and potential Emoluments Clause violations

stemming from the Old Post Office Building lease.” Id.

                 2.     Analysis

          The Maloney Memorandum lists several legislative objectives of the GSA track that the

Committee claims could be aided by the subpoenaed material. Maloney Mem. at 23. Depending

on the information revealed, the Committee could consider legislation that would, among other

things:

                 (i) increase oversight of GSA’s management of federal leases that
                 may implicate Emoluments Clause or conflict-of-interest issues;
                 (ii) tighten requirements for the submission of audited financial
                 documentation from bidders and leaseholders, particularly those
                 who may be able to exert undue influence on GSA; (iii) require GSA
                 to provide bidding and financial documents of federal leaseholders
                 to Congress upon request; and (iv) require consideration of the



46
   Letter from Chairwoman Carolyn B. Maloney, Comm. on Oversight & Reform, Chairman Gerald E. Connolly,
Subcomm. on Gov’t Operations, to Emily Murphy, Adm’r, Gen. Servs. Admin. (Apr. 29, 2020),
https://tinyurl.com/xseuhds.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 40 of 53




               Emoluments Clause in GSA’s management and assessment of lease
               agreements.

Id.

       For their part, Plaintiffs advance three primary objections. First, they assert that the

Committee “has not ‘adequately identif[ied]’ the ‘particular legislative objective’ that justifies a

subpoena to [President Trump].” Pls.’ Mot. at 20 (quoting Mazars III, 140 S. Ct. at 2036). In

Plaintiffs’ view, the Committee’s “vague[]” references to potential legislation regarding

“stewardship of taxpayer dollars” and “proper review and management” of GSA leases “lack the

detail necessary to justify a subpoena for a President’s papers.” Id. at 20–21 (cleaned up).

       Second, Plaintiffs contend that “the Committee has not substantiated why its lease rationale

warrants a subpoena to a President, let alone a subpoena of this breadth.” Pls.’ Mot. at 21 (citing

Mazars III, 140 S. Ct. at 2035–36). Among its justifications, the Committee claims that it needs

the subpoenaed material for its study of GSA’s process for awarding and managing leases.

See Maloney Mem. at 23. Specifically, the Committee asserts that President Trump might have

misrepresented his finances when he bid on the lease in 2011 and when he “personally certified

every six months” from August 2013 to August 2016 “that his financial condition had not

adversely changed since he submitted his proposal to GSA.” See id. at 20 (noting that, until

substantial completion of the Old Post Office redevelopment project, President Trump was

“required to maintain a personal net worth of at least $2 billion”). Plaintiffs cry foul, calling the

Committee’s assertions “baseless speculation” predicated on “Cohen’s vague testimony about

entirely different financial statements and transactions.” Pls.’ Mot. at 22. That testimony,

Plaintiffs argue, can “hardly . . . justify” a subpoena for President Trump’s personal financial

information. Id.



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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 41 of 53




       Third, Plaintiffs assert that the Committee “is perfectly capable of considering reforms to

GSA’s lease policies without detailed information about President Trump’s finances.” Id. at 23.

“[I]f the Committee needs to know more about GSA’s lease policies, then it can simply ask GSA.”

Id. They add that “[t]o the extent the Committee is dissatisfied that GSA did not turn over every

last document the Committee asked for, that is how accommodation [between the executive and

legislative branches] works.” Id. (citation omitted) (citing United States v. AT&T Co., 567 F.2d

121, 127 (D.C. Cir. 1977)).

       Each of these arguments assumes the application of separation of powers principles that

have little, if any, force here. During oral argument, Plaintiffs conceded that the Committee could

subpoena the same material for an ordinary leaseholder who was not (and had never been)

President. Hr’g Tr. at 34. When asked why President Trump should be treated differently,

Plaintiffs responded that the Committee should “have to satisfy [the Mazars test].” Id. at 34–35.

But the Mazars test was premised on separation of powers notions inherent to the Office of the

President. See Mazars III, 140 S. Ct. at 2035 (emphasizing the “unique position” of the President

(internal quotation marks omitted)). Here, the genesis of the Committee’s GSA investigation is a

lease that President Trump, through his business interests, signed with GSA in 2013, more than

three years before becoming President; maintained throughout his presidency; and continues to

hold after leaving office. See Committee SOMF ¶¶ 16–18. The decision to bid for the lease was

entirely voluntary, as was the decision to sign it and be bound by its terms. The same is true for

President Trump’s choice not to divest his interests in the lease upon entering public office.

Nothing about the lease or the Committee’s subsequent investigation necessarily implicates the

concerns underlying the Mazars test because neither is inherent to the presidency and both are

straightforwardly avoidable. A presidential candidate can choose not to contract with the federal



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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 42 of 53




government, or can divest his interests upon assuming office, and thereby avoid the accompanying

scrutiny. Contrast that with the financial disclosure track, which could result in Congress issuing

or threatening to issue broad subpoenas for personal information to future sitting Presidents.

Because Congress can always assert some disclosure-related legislative rationale for any

President’s personal papers, the potential threat of a related subpoena is unavoidable for a President

and therefore implicates the separation of powers. The same cannot be said about the Committee’s

GSA track rationale. It is unique to President Trump. By freely contracting with GSA for his own

private economic gain, and by not divesting upon taking office, President Trump opened himself

up to potential scrutiny from the very Committee whose jurisdiction includes the “management of

government operations and activities, including Federal procurement,” House of Representatives

Rule X(n), cl. (6) (2021). That he happened to occupy the presidency for some portion of his still-

in-effect lease does nothing to change that fact.

       And the likelihood that future Presidents will be subject to similar congressional inquiry

appears remote. Neither side has cited any historical precedent for a former President maintaining

a business relationship with the federal government of the kind at issue here. Absent such a

business tie, Congress’s leverage over a sitting President who might fear a retributive subpoena

upon leaving office for personal financial records disappears. Thus, there is little “institutional

advantage” to be had from a subpoena that springs from a voluntary business relationship that a

President maintains with the federal government. Mazars III, 140 S. Ct. at 2036.

       Once separation of powers principles no longer factor into the analysis—or are at least

greatly diminished—the court’s treatment of the Maloney Subpoena and the GSA track resembles

the treatment of any ordinary congressional subpoena. More to the point, Plaintiffs’ various

arguments lose their force. At the outset, the Maloney Memorandum’s explanation of the



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          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 43 of 53




Committee’s legislative objective suffices, even if those objectives are imprecise. “The very

nature of the investigative function—like any research—is that it takes the searchers up some

‘blind alleys’ and into nonproductive enterprises. To be a valid legislative inquiry there need be

no predictable end result.” Eastland, 421 U.S. at 509. Next, the allegedly “vague” nature of

Cohen’s testimony about President Trump’s financial statements is insufficient to call the

subpoena into question. See Mazars I, 380 F. Supp. 3d at 92–93 (noting that in ordinary

circumstances, “[o]nly an investigative demand that is ‘plainly incompetent or irrelevant to any

lawful purpose of the [committee] in the discharge of its duties’ will fail to pass muster” (quoting

McPhaul v. United States, 364 U.S. 372, 381 (1960))). And finally, the court need not closely

scrutinize whether “other sources could reasonably provide . . . the information [the Committee]

needs.” Mazars III, 140 S. Ct. at 2035–36. On this last point, even assuming the Committee were

required to ask GSA for documents first, it already has. See Maloney Mem. at 20 & n.85; see Pls.’

Mot. at 23 (acknowledging the same). As recently as July 14, 2021, GSA produced certain

documents that the Committee recognizes as overlapping with the subpoenaed material from

Mazars. See July 14th Notice at 1 (indicating that the Committee will “communicate with Mazars

regarding any feasible ways to reduce Mazars’ burden by excluding identical documents received

from GSA”). But the Committee still requires the nonidentical subpoenaed material “to determine

the accuracy and completeness of the information submitted to GSA.” Id. at 2. 47




47
   Also inapplicable is the Supreme Court’s instruction that Congress may not look to the President “as a ‘case study’
for general legislation.” Mazars III, 140 S. Ct. at 2036. Just as with Plaintiffs’ arguments above, this constraint on
Congress’s subpoena authority turns on the application of separation of powers principles that are greatly diminished
in the context of the GSA track. See id. (listing this concern in light of the principal that “constitutional confrontation
between the two branches should be avoided whenever possible” (internal quotation marks omitted)). Moreover, the
GSA track is not directed at “general legislation” of the kind that the Supreme Court referenced in Mazars. See id.
(citing a congressional examination of how well banking regulators are discharging their responsibilities and whether
new legislation is needed). The stated legislative purpose here centers on the leasing of federal properties, not on a
broad industry.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 44 of 53




       Of course, Plaintiffs’ objections aside, the Committee nevertheless maintains the burden to

show that the subpoenaed material is “related to, and in furtherance of” its valid legislative

purpose. See Watkins, 354 U.S. at 187. The subpoena, taken as a whole, fails this standard. On

the present record, of the eight individuals and entities listed in the Maloney Subpoena, the

Committee has demonstrated that only the materials concerning President Trump, Trump Old Post

Office LLC, and the Trump Organization are related to the GSA track. See Maloney Mem. at 15,

20 (President Trump and Trump Old Post Office LLC submitted certificates of financial status

pursuant to the lease); id. at 16 (GSA selected Trump Organization for the Old Post Office

redevelopment effort).     The remaining entities are not evidently within the scope of the

Committee’s GSA track.

       The parties disagree on how to address the subpoena’s overbreadth. Plaintiffs cite language

in Mazars III instructing courts “to insist on a subpoena that is no broader than reasonably

necessary.” Hr’g Tr. at 47 (emphasis added) (citing 140 S. Ct. at 2036). In their view, that means

the subpoena must be “good in full.” Id. And the proper remedy for an overbroad subpoena,

Plaintiffs contend, is invalidation. Id. Plaintiffs admit, however, that “if [the court] invalidate[s]

a full subpoena, the Committee is free to come back with a narrower subpoena.” Id. By contrast,

the Committee submits that narrowing is an option. See id. at 96 (“[I]f [the court] find[s] that some

parts of the subpoena are valid and other parts are not, [the Committee is] not aware of any reason

why [the court] couldn’t so rule.”).

       The Committee has the better argument. Plaintiffs overread the language in Mazars III.

A judicially narrowed subpoena is still a subpoena. And insofar as the Committee is of the view

that a judicial narrowing poses no separation of powers concerns, the court sees no issue with that

course of action. Accordingly, the court finds that the GSA track warrants summary judgment for



                                                 44
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 45 of 53




the Committee on the subpoenaed materials of only President Trump, Trump Old Post Office LLC,

and the Trump Organization. 48

         C.       The Emoluments Track

         Finally, the Committee asserts that the Maloney Subpoena would advance its investigation

into whether “President Trump’s receipt of funds from foreign governments, federal officials, or

state officials through his business holdings[] result[ed] in receipt of Emoluments.” Maloney

Mem. at 5. As with the GSA track, the court agrees in some respects but not others.

                  1.        Relevant Context

         The Constitution “imposes two separate requirements pertaining to the President’s private

finances.” Mazars II, 940 F.3d at 734. “[T]he so-called Domestic Emoluments Clause[] prohibits

the President from receiving ‘any . . . Emolument’ from the federal or state governments other

than” his salary as President. Id. (quoting U.S. Const. art. II, § 1, cl. 7). “[T]he so-called Foreign

Emoluments Clause prohibits any federal official ‘holding any Office of Profit or Trust’—the

President included—from ‘accept[ing] . . . any present, Emolument, Office, or Title of any kind

whatever, from any King, Prince, or foreign State’ without ‘the Consent of Congress.’” Id.

(quoting U.S. Const. art. I, § 9, cl. 8). Neither the Supreme Court nor the D.C. Circuit has clarified

the precise meaning of an “emolument.” That said, the only two district courts to interpret the

term have done so broadly. See Blumenthal v. Trump, 373 F. Supp. 3d 191, 207 (D.D.C. 2019)

(“‘Emolument’ is broadly defined as any profit, gain, or advantage.”), rev’d on other grounds, 949

F.3d 14 (D.C. Cir. 2020); District of Columbia v. Trump, 315 F. Supp. 3d 875, 904 (D. Md. 2018)

(finding that “emoluments” “extend[] to any profit, gain, or advantage, of more than de minimis



48
  This ruling does not foreclose the Committee’s ability to later demonstrate that the materials of other entities covered
in Maloney Subpoena are also related to the GSA track. On the present record, however, the Committee has not done
so.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 46 of 53




value, received by [the President], directly or indirectly, from foreign, the federal, or domestic

governments”), vacated, 838 F. App’x 789 (mem.) (4th Cir. 2021).

        As for foreign emoluments, the Committee, relying on various news articles, claims that

“foreign governments reportedly . . . paid millions of dollars to [President Trump’s] businesses—

hotels, commercial and residential towers, and golf courses and resorts—at the same time the

Trump Administration . . . developed and conducted foreign policy affecting those foreign

governments.” Maloney Mem. at 24–26 (citing articles indicating payments and benefits from the

governments of Afghanistan, China, India, Iraq, Kuwait, Malaysia, Qatar, Saudi Arabia, Slovakia,

and Thailand).

        The Committee’s investigation into foreign emoluments began in April 2017, when the

Republican-led Committee sent a bipartisan letter to counsel for the Trump Organization. 49 Id. at

27. “The letter requested documents and a meeting with Trump Organization officials to determine

how [President Trump] intended to comply with the Constitution’s Foreign Emoluments Clause.”

Id. On May 11, 2017, the Trump Organization wrote back, stating that it would be “premature” to

respond before the close of the calendar year. 50 Id. (internal quotation marks omitted). In response

to congressional and media scrutiny regarding payments from foreign governments, “President

Trump pledged to donate to the United States Treasury all profits from foreign government

payments to his hotels during his presidency.” Id. at 26 (internal quotation marks omitted). In

2017, the Trump Organization transmitted payment of $151,470 to the Department of the Treasury.

Id.




49
   Letter from Chairman Jason Chaffetz & Ranking Member Elijah E. Cummings, Comm. on Oversight & Gov’t
Reform, to Sheri A. Dillon, Partner, Morgan Lewis (Apr. 21, 2017), https://tinyurl.com/mxve4tyk.
50
   Letter from George A. Sorial, Exec. Vice President & Chief Compliance Couns., The Trump Organization, to
Chairman Jason Chaffetz & Ranking Member Elijah E. Cummings, Comm. on Oversight & Gov’t Reform, at 2 (May
11, 2017), https://tinyurl.com/4694u977.

                                                    46
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 47 of 53




        On March 12, 2018, then–Ranking Member Cummings wrote to the Trump Organization

asking for “documents sufficient to show the calculation for the payment to Treasury, including

the foreign government entities that made payments, the amounts of the payments, the dates of the

payments, which Trump Organization entities received the payments, the goods or services

received for the payments, and any calculation of profits.” 51 Id. at 28 (internal quotation marks

omitted).

        On April 6, 2018, the Trump Organization responded with a general description of its

“methods of identifying and calculating foreign government patronage,” but it declined “to provide

all responsive documents, including the identities of foreign sources of income.” 52 Id. In

April 2019, after the GSA Inspector General issued a report concluding that the agency had

mishandled Emoluments Clause concerns related to the Trump International Hotel in

Washington, D.C., Chairman Cummings and Subcommittee Chairman Connolly sent a letter to

GSA requesting records regarding, among other things, the agency’s treatment of those concerns. 53

Id. at 29. As noted above, the Committee has received some but not all the requested documents.

See July 14th Notice at 1.

        The Committee also suggests that “President Trump’s failure to fully separate himself from

his businesses may have affected domestic policy.” Maloney Mem. at 26 (citing a news article for

the claim that “[a]t least 285 administration officials, 90 Members of Congress, and 47 state

officials reportedly visited and patronized [President Trump’s] properties by January 2020”).




51
   Letter from Ranking Member Elijah E. Cummings, Comm. on Oversight & Government Reform, to George A.
Sorial, Exec. Vice President & Chief Compliance Couns., The Trump Org., at 4 (Mar. 12, 2018),
https://tinyurl.com/3jchzae3.
52
   Letter from George A. Sorial, Exec. Vice President & Chief Compliance Couns., The Trump Org., to Ranking
Member Elijah E. Cummings, Comm. on Oversight & Gov’t Reform (Apr. 6, 2018), https://tinyurl.com/pv5md25s.
53
   Cummings’ April 12th GSA Letter.

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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 48 of 53




               2.      Analysis

                       a.      Foreign Emoluments

       The Maloney Memorandum asserts that the subpoenaed material “may show the tangible

and intangible benefits President Trump has received and how [his] businesses have kept track of,

or failed to keep track of, payments from . . . sources.” Id. at 31. That information, according to

the memorandum, could help:

               •    “[A]id consideration of legislation regarding the type of expenses that
                    must be reported as foreign emoluments, [as] [d]epending on the value
                    and types of benefits, Congress could consider requiring [President
                    Trump’s] and future presidents’ businesses to separately report funds
                    received from certain sources until Congress . . . reviews and approves”;
               •    “Congress clarify and define incidental or de minimis payments that [it]
                    could exempt categorically from needing to seek consent”;
               •    “Congress decide how to define the entities or organizations that fall
                    into the definition of ‘King, Prince, or foreign State’ in the Foreign
                    Emoluments Clause.”

Id.

       Plaintiffs argue that the emoluments track fails each factor of the Mazars test. On the first

factor, they characterize the Committee’s description of potential legislation as “precisely the kind

of ‘vague’ and ‘loosely worded’ evidence” of legislative purpose “that the Supreme Court deemed

insufficient.” Pls.’ Mot. at 16 (quoting Mazars III, 140 S. Ct. at 2036); id. (“[T]he Committee has

provided no detailed or substantial explanation of the disclosure laws or other remedial legislation

that it’s considering.” (cleaned up)).

       Regarding the second factor, Plaintiffs submit that the Committee “does not need a ‘full

accounting’ of President Trump’s financial history” to make any of the legislative decisions listed

in the Maloney Memorandum. Id. at 16–17 (quoting Maloney Mem. at 30–31). The press reports

and responses from the Trump Organization cited in the Maloney Memorandum, Plaintiffs claim,

are “more than enough.” Id. at 17. Plaintiffs also contend that by subpoenaing Mazars rather than

                                                 48
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 49 of 53




Plaintiffs directly, the Committee sidestepped its obligation to engage in the “traditional

accommodation process” between Congress and the President. Id. at 18.

       As for the third factor, Plaintiffs maintain that the subpoena “is not cabined to documents

that would reveal what the Committee would call ‘emoluments.’” Id. at 19. In Plaintiffs’ view,

the only relevant documents potentially in Mazars’s possession “are the Trump Washington, D.C.

hotel’s ledger, receipts, and other financial and accounting documents showing the hotel’s revenue

from foreign governments.” Id. (cleaned up). “But the Mazars subpoena is not limited to those

documents.” Id.

       On the fourth factor, Plaintiffs first note how the subpoena’s scope contributes to its burden

on “the operation of the office of the Presidency.” Id. at 19 (internal quotation marks omitted)

(quoting Mazars III, 140 S. Ct. at 2036). They then assert that the Committee’s rationale “would

allow Congress to subpoena the financial records of any President or any federal employee” in the

name of considering disclosure legislation. Id. at 20.

       The court disagrees with these contentions. Plaintiffs overstate the separation of powers

concerns attendant to potential legislation in furtherance of Congress’s expressly granted authority

under the Foreign Emoluments Clause. Recall that the Clause prohibits any federal official

“holding any Office of Profit or Trust”—including the President—from “accept[ing] . . . any

present, Emolument, Office, or Title of any kind whatever, from any King, Prince, or foreign State”

without “the Consent of Congress.” U.S. Const. art. I, § 9, cl. 8. By its own terms, the Clause

contemplates Congress’s active enforcement or waiver of the default prohibition on foreign

emoluments. Therefore, the “balanced approach” to separation of powers made concrete by the

four-factor Mazars test must, in this context, lean in favor of Congress. See Pub. Citizen v. U.S.

Dep’t of Justice, 491 U.S. 440, 486 (1989) (Kennedy, J., concurring) (“Where a power has been



                                                49
          Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 50 of 53




committed to a particular Branch of Government in the text of the Constitution, the balance has

been struck by the Constitution itself.”); I.N.S. v. Chadha, 462 U.S. 919, 945 (1983) (concluding

that the lawmaking process must adhere to the “[e]xplicit and unambiguous provisions of the

Constitution [that] prescribe and define the respective functions of [Congress and the Executive]”).

          Sensing this conclusion, Plaintiffs reply that Congress’s “power [to ‘consent’ to foreign

emoluments] says nothing about the power to compel disclosures.” Pls.’ Reply at 22. “The power

to mandate disclosure would have to be necessary and proper to the power to consent, but whether

disclosure legislation is necessary and proper would simply reraise the difficult questions

surrounding presidential disclosures more broadly.” Id. But as Plaintiffs admit, the Necessary and

Proper Clause is “properly read as ‘a means of making the exercise of powers by the various

branches effective.’” Id. (internal quotation marks omitted) (quoting Consumer Energy Couns. of

Am. v. FERC, 673 F.2d 425, 455 n.127 (D.C. Cir. 1982)). Applied here, Congress’s power to

consent—or not consent—to foreign emoluments allows it to enact laws that are “derivative of,

and in service to, [that] granted power,” NFIB v. Sebelius, 567 U.S. 519, 560 (2012). If Congress

cannot mandate disclosure pursuant to its consent authority, one wonders how it could possibly

exercise that authority effectively. Cf. Mazars II, 940 F.3d at 734 (“If the President . . . must seek

Congress’s permission before accepting any foreign emoluments, then surely a statute facilitating

the disclosure of such payments lies within constitutional limits.”). Presidents could simply

conceal foreign emoluments from Congress to avoid scrutiny—a result contrary to the Framers’

intent.

          Plaintiffs also suggest that, to validate any part of the Maloney Subpoena under the

emoluments track, the court would have to first define an emolument, in order to ensure that the

Committee’s legislative objectives are constitutionally sound. See Hr’g Tr. at 44; see also Pls.’



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        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 51 of 53




Mot. at 16 (criticizing the Committee’s potential disclosure laws for incorporating an overly broad

definition of an emolument). Plaintiffs are mistaken. In this context, the court need not precisely

define the outer bounds of what qualifies as a foreign emolument. See Rumely, 345 U.S. at 46

(counseling that courts should avoid declaring an investigation by Congress unconstitutional

unless “no choice is left”); see also Nashville, C. & St. L. Ry v. Wallace, 288 U.S. 249, 262 (1933)

(explaining that courts may not make “abstract determination[s] . . . of the validity of a statute” or

issue “decision[s] advising what the law would be on an uncertain or hypothetical state of facts”).

Federal courts do not “render advisory opinions. For adjudication of constitutional issues, concrete

legal issues, presented in actual cases, not abstractions are requisite.” United Pub. Workers of Am.

(C.I.O.) v. Mitchell, 330 U.S. 76, 89 (1947) (internal quotation marks omitted) (footnote omitted).

Because that requirement is not met here, the court need not define the four corners of an

emolument in order to accept the Committee’s argument. Cf. Mazars II, 940 F.3d at 737 (finding

“no inherent constitutional flaw” in the Committee’s disclosure justification as a basis on which

legislation may be had). In any event, the types of foreign payments that the Committee seeks to

learn about here are not so far outside the scope of what might be considered a foreign emolument

as to justify denying the Committee’s request for records. See Blumenthal, 373 F. Supp. 3d at 207;

Trump, 315 F. Supp. 3d at 904; see also GSA Inspector General Report at 16 (“In sum, we found

evidence that the term ‘emolument’ as used historically and today includes the gain from private

business activities.”).

        Finally, Plaintiffs’ concern that an emoluments rationale always could be used to subpoena

a past President’s personal records is a legitimate one, but is ameliorated here by the fact that the

Committee has presented “detailed and substantial” evidence, Mazars III, 140 S. Ct. at 2036, that

President Trump, at least through his business interests, likely received foreign payments during



                                                 51
        Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 52 of 53




the term of his presidency. See Maloney Mem. at 25–26 (citing sources regarding hotel revenues,

trademark rights, and commercial and residential leases). Indeed, early on, this was an issue of

bipartisan interest to Congress, and it led President Trump to commit to contribute to the U.S.

Treasury the profits from foreign government payments to his hotels. Id. at 27. The Trump

Organization transmitted payments to the Treasury of $151,470, $191,538, and $105,465 in 2017,

2018, and 2019, respectively, id. at 26, thereby validating the Committee’s belief that President

Trump’s businesses received some foreign payments during his presidency. The Committee

therefore is not engaged in a baseless fishing expedition. It has presented the requisite degree of

evidence to substantiate the Committee’s legislative purpose.

       Thus, the court holds that the emoluments track justifies the scope of the Maloney

Subpoena as to the entities listed and the types of documents requested. That said, the time period

covered by the subpoena cannot be fully justified under the same rationale. Plaintiffs correctly

note that President Trump “could not have received any emoluments until he became President in

January 2017.” Pls.’ Mot. at 18. “Yet the Mazars subpoena seeks financial documents starting in

2011, years before President Trump was even a candidate for public office.” Id.; see Maloney

Subpoena at 2. The Committee explains this apparent disconnect by theorizing that emoluments

from the Trump presidency might have their origins in his business dealings from years prior. Hr’g

Tr. at 95–96. This is nothing more than speculation without any limiting principle. If the

Committee were to find a concrete instance of the scenario it describes, perhaps then the

subpoenaed material from 2011 to 2016 would “relate[] to[] and [be] in furtherance of” the

emoluments track. See Watkins, 354 U.S. at 187. But it hasn’t. Accordingly, the court finds that

the emoluments track warrants summary judgment for the Committee on the subpoenaed materials

for only the years 2017 and 2018.



                                                52
         Case 1:19-cv-01136-APM Document 72 Filed 08/11/21 Page 53 of 53




                          b.       Domestic Emoluments

        The Committee also attempts to validate parts of the Maloney Subpoena by way of a

perceived authority to mandate disclosures pursuant to the Domestic Emoluments Clause. See

Maloney Mem. at 30; Committee Cross-Mot. at 44. Predictably, Plaintiffs disagree. See Pls.’

Reply at 22 (“The Domestic Emoluments Clause does not contemplate any role for Congress—

legislative or otherwise.”). Regardless, any such authority would, at most, justify the subpoenaed

material for only the years President Trump was in office. Because the Committee has already

won summary judgment as to those materials via its Foreign Emoluments Clause authority, the

court need not address domestic emoluments or the parties’ related arguments. 54

VI.     CONCLUSION

        For the foregoing reasons, the court grants in part and denies in part both cross-motions for

summary judgment. The GSA track warrants entry of summary judgment for the Committee (and

denial of Plaintiffs’ motion) on the subpoenaed materials of only President Trump, Trump Old

Post Office LLC, and the Trump Organization. The emoluments track warrants entry of summary

judgment for the Committee (and denial of Plaintiffs’ motion) on the subpoenaed materials for

only the years 2017 and 2018. As for the remaining documents covered by the Maloney Subpoena,

Plaintiffs’ motion is granted, and the Committee’s motion is denied. A separate final order

accompanies this Memorandum Opinion.




Dated: August 11, 2021                                               Amit P. Mehta
                                                              United States District Court Judge


54
  For the same reason, the court also need not evaluate the Committee’s argument that the documents “may help
Congress scrutinize President Trump’s policies toward foreign states that have paid his businesses and respond to
any potential conflict of interest or self-dealing,” Maloney Mem. at 31.

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